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   DREW DESBORDES
 7
 8                          UNITED STATES DISTRICT COURT
 9                        NORTHERN DISTRICT OF CALIFORNIA
10
11 ASHLEY PARHAM, JANE DOE, and                   Case No. 3:24-CV-07191-RFL
   JOHN DOE,
12                                                Assigned to Hon. Rita F. Lin
             Plaintiffs,
13                                                DECLARATION OF DREW
       vs.                                        DESBORDES
14
   SEAN COMBS, KRISTINA
15 KHORRAMN, SHANE PEARCE,
   RUBEN VALDEZ, JOHN                             Date:     June 17, 2025
16 PELLETIER, ODELL BECKHAM JR.,                  Time:     10:00 a.m.
   DREW DESBORDES, JACQUELYN                      Crtrm:    15
17 WRIGHT, HELENA HARRIS-SCOTT,
   MATIAS GONZALEZ, BRANDI
18 CUNNINGHAM, JANICE COMBS,
   KEITH LUCKS, and JOHN AND                      Complaint Filed:          10/15/24
19 JANE DOES 1-10,
20                  Defendants.
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28
                                                           DECLARATION OF DREW DESBORDES
     241103576.4
     244755-10003
                                                                             24-cv-07191-RFL
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 1                        DECLARATION OF DREW DESBORDES
 2            I, Drew Desbordes, declare:
 3            1.    I am a named defendant in the above-captioned lawsuit. I have
 4 personal knowledge of all of the following facts and, if called as a witness, could
 5 and would competently testify thereto.
 6            2.    I read Plaintiff’s Amended Complaint. Plaintiff alleged that she was
 7 attacked on March 23, 2018 by a group of men, including me, in Orinda, California.
 8 Plaintiff’s allegations against me are false.
 9            3.    I have never met Plaintiff. I have never been to Orinda, California. I
10 was not in Orinda, California on March 23, 2018. On that date – and all of March
11 2018 – I was in Georgia, not California.
12            4.    In March 2018, I was twenty-three years old. I was living in my
13 mother’s home in Duluth, Georgia. I was working as a waiter in local restaurants. I
14 was not a celebrity.
15            5.    Plaintiff’s allegations state that the group of men who attacked her
16 included a number of other public figures. I knew none of them in 2018.
17            6.    I have attached as Exhibit 1 to my declaration a true and correct copy
18 of my Bank of America checking account statement for March 10, 2018, to April 9,
19 2018. The statement reflects that, on March 23, 2018, I purchased gas at a Shell
20 station located in Loganville, Georgia. All of my ATM and debit-card transaction
21 reflected on the statement occurred in Georgia.
22            7.    I have attached as Exhibit 2 to my declaration a true and correct copy
23 of a screenshot of my Instagram account dated June 12, 2018 at 7:50 PM. As of that
24 date, which is months after the alleged incident, I had 2,534 Instagram followers.
25            8.    I have attached as Exhibit 3 to my declaration a true and correct copy a
26 photograph dated March 10, 2018 at 9:23 PM. The photograph shows that I
27
28
                                                            DECLARATION OF DREW DESBORDES
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 1 completed an escape room with my mother and sisters at Breakout Games in
 2 Atlanta, Georgia on that date.
 3            9.    I have attached Exhibit 4 to my declaration a true and correct copy of a
 4 photograph dated April 1, 2018 at 4:09 PM. The photograph shows I ate lunch with
 5 my extended family at the Cracker Barrel in Snellville, Georgia on that date.
 6            10.   I have attached as Exhibit 5 to my declaration a true and correct copy
 7 of my Equifax Employment Data Report showing Employer Information for
 8 Outback Steakhouse. As confirmed by the report, during March 2018, I worked as a
 9 server at Outback Steakhouse.
10            11.   I have attached as Exhibit 6 to my declaration a true and correct copy
11 of my Equifax Employment Data Report showing Employer Information for Darden
12 Restaurants, Inc., which owns Longhorn Steakhouse. As confirmed by the report,
13 during March 2018 I interviewed for, and received, a job at Longhorn Steakhouse in
14 Johns Creek, Georgia.
15            12.   I have attached as Exhibit 7 to my declaration a true and correct copy
16 of an email dated March 23, 2018, from DONOTREPLY@darden.com to me. I had
17 interviewed for a job as a server at Longhorn Steakhouse and, as confirmed by this
18 email, the Longhorn Steakhouse asked me to complete my new hire forms before
19 starting my first day of work.
20            13.   I have attached as Exhibit 8 to my declaration a true and correct copy
21 of a letter from Darden Restaurants, Inc. As reflected in the letter, my “Most Recent
22 Start Date” at Longhorn Steakhouse was “03/25/2018.” I did begin working at
23 Longhorn Steakhouse in Johns Creek, Georgia, on March 25, 2018.
24            14.   I have attached as Exhibit 9 to my declaration a true and correct copy
25 of a photograph dated April 2, 2018. As reflected in the photograph, I took a
26 photograph outside my mother’s house, where I was living, in Duluth, Georgia. I
27 took the photograph to show my mother that the trash collectors had been leaving
28 garbage on the property after the weekly trash removal.

                                                            DECLARATION OF DREW DESBORDES
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